
934 N.E.2d 1008 (2010)
PEOPLE State of Illinois, respondent,
v.
Andrew J. CRAWFORD, petitioner.
No. 109479.
Supreme Court of Illinois.
September 29, 2010.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Third District, is directed to vacate its judgment in People v. Crawford, case No. 3-07-0538 (07/16/09). The appellate court is directed to reconsider its judgment in light of People v. Williams, ___ Ill.2d ___, ___ Ill. Dec. ___, ___ N.E.2d ___ (2010), to determine if a different result is warranted.
